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Office of Management and Budget (OMB)
Reporting on Apportionments

Updated April 10, 2025
Congress enacts annual appropriations and other budgetary legislation to provide agencies with budget
authority, which allows them to spend federal dollars. To prevent agencies from prematurely exhausting
their appropriated funds, the Antideficiency Act generally requires that appropriated funds be apportioned
(i.e., subdivided)—by time period, function, program, or some combination thereof. The President is
statutorily responsible for apportioning funds for executive branch agencies, but this responsibility has
been historically delegated to the Office of Management and Budget (OMB) by executive order. In
FY2022, Congress directed OMB to make its apportionment documents available on a publicly accessible
website. Congress subsequently made this reporting requirement permanent. Since 2022, OMB’s
apportionment documents were available on the agency’s public website. Since March 24, 2025, that
website is no longer available, and OMB Director Russell Vought said OMB will no longer make
apportionments available on its public website.


OMB Role in Executive Branch Apportionment
Appropriations must be apportioned by (1) 20 days prior to the start of the fiscal year for which the
appropriations were provided or (2) 30 days after the date of enactment of the appropriations act,
whichever comes later. OMB directs agencies to submit apportionment requests by August 21 or “within
10 calendar days after the approval of the appropriation or substantive acts providing new budget
authority, whichever is later.” OMB may also apportion multiyear and no-year funds for a future fiscal
year, but apportionments may not last longer than one fiscal year. These funds must be apportioned, again,
at the beginning of each fiscal year.
At the beginning of a fiscal year, prior to OMB approval of an agency’s first full-year enacted
apportionment request, OMB generally provides initial “automatic apportionments” that make budget
authority available to agencies. The OMB director approves these automatic apportionments in a bulletin,
which contains a formula that agencies use to calculate apportioned amounts. OMB officials then work to
approve apportionments for each appropriations account.
OMB generally apportions budget authority in one of four ways:


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    1. by time period (what OMB refers to as a “category A” apportionment—e.g., by fiscal
       year quarter);
    2. by program, project, or activity (a “category B” apportionment);
    3. by a combination of time and function (a “category AB” apportionment); or
    4. for future years (a “category C” apportionment).
OMB may include “footnotes” on an apportionment, which provide additional information or direction
associated with one or more lines on the apportionment. Sometimes, a footnote will state that apportioned
amounts are available for obligation only when a specified event occurs, such as an agency taking a
particular action. OMB states that these type “A” footnotes “have legal effect, and are subject to the
Antideficiency Act.” Type “B” footnotes are informational and “have no legal effect.”


Apportionment Reporting Requirements
In the FY2022 Consolidated Appropriations Act (P.L. 117-103), Congress included language requiring
OMB and agencies to publicly disclose certain information about the apportionment of appropriated
funds. Previously, OMB’s apportionment decisions were rarely made public.
These statutory provisions were enacted in the wake of congressional concerns that OMB could use its
apportionment authority to spend or withhold appropriated funds in ways that do not align with
congressional intent. In particular, the withholding of funds appropriated to the Defense Department for
security assistance to Ukraine identified how OMB apportionments might play a role in carrying out
major policy decisions. In summer 2019, OMB issued apportionments of these accounts with footnotes
that made certain unobligated balances unavailable for obligation. In January 2020, the Government
Accountability Office (GAO) opined that these actions violated the Impoundment Control Act,
concluding, “Faithful execution of the law does not permit the President to substitute his own policy
priorities for those that Congress has enacted into law.”
Provisions in the FY2022 Consolidated Appropriations Act on the reporting of OMB’s apportionment
decisions included the following:
    •    OMB must provide the House and Senate Appropriations and Budget Committees each
         apportionment document and any associated footnotes within two business days of
         OMB’s apportionment approvals.
    •    OMB must post apportionment documents on a publicly accessible website not later than
         two business days after their approval, including an explanation for any footnotes
         accompanying an apportionment.
    •    OMB must publish and continually update any delegation of apportionment authority on
         a publicly accessible website and in the Federal Register. Additionally, OMB must report
         any change of officials with delegated apportionment authority and the rationale for the
         personnel change to “appropriate congressional committees” within five days of OMB
         action.
    •    Executive agencies are required to notify the House and Senate Appropriations and
         Budget Committees, and “any other appropriate congressional committees,” if an
         apportionment (1) is not provided in the statutorily required time period; (2) conditions
         funding availability on further action; or (3) may hinder the agency’s prudent obligation
         of appropriated funds or the execution of a program, project, or activity.
In the FY2023 Consolidated Appropriations Act (P.L. 117-328), Congress included language requiring
that OMB maintain the publicly accessible website containing apportionment documents “in fiscal year
2023 and each fiscal year thereafter.”
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Recent Developments and Considerations for Congress
Since March 24, 2025, the OMB website previously used to access apportionments is no longer available.
A March 29, 2025, letter from Vought to Rosa DeLauro, ranking member of the House Committee on
Appropriations, stated that OMB will no longer make apportionments available on its public website. The
letter explained that apportionments contain “sensitive, predecisional, and deliberative information” and
“may contain sensitive information, the automatic disclosure of which may pose a danger to national
security and foreign policy.” Some Members of Congress have called for the restoration of the
apportionment website. In an April 8, 2025, letter to Vought, GAO disagreed with OMB’s decision,
stating that “apportionments are legally binding decisions on agencies under the Antideficiency Act” and
“by definition, cannot be predecisional or deliberative.”
Should it be continued, this change in OMB’s public reporting may affect Congress’s ability to effectively
conduct oversight of OMB apportionments and monitor them for potential impoundments. In response,
Congress could hold oversight hearings to obtain information on OMB’s decisionmaking related to
apportionment reporting.


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